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Frequently Asked Questions

NOTE: This website is intended as informational, and is not meant as, and should not be construed as medical advice. Consumers should consult
with their own healthcare practitioners concerning specific questions. The hemp stalk oil products described in this website are not drugs, and are not
intended to diagnose, treat, cure, or prevent any disease or abnormal condition.

Will Dixie Botanicals work for me?

Each individual is unique and has different wellness goals they are interested in addressing though the consumption and application of the Dixie

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Is the cannabidiol — cbd oil in Dixie Botanicals synthetic?

No. Dixie Botanicals Hemp Stalk Oil Products are derived from a mature stalk and seed extract. We are proud to offer this form of high quality hemp
stalk oil, Real Scientific Hemp Oil, that is naturally grown and is not chemically synthesized in a lab.

Do these products contain cannabidiol — cbd oil?

Yes, Dixie Botanicals Hemp Stalk Oil Products contain naturally occurring cannabidiol — cbd oil from industrial hemp. We are not medical
professionals; our products are not drugs; and thus we are unable to offer “dose” or “dosing” recommendations regarding cannabidiol — cbd oil. We
ask that you consult with your medical professional to determine the appropriate use of our products to meet your health and wellness goals.

Do you lab test your hemp stalk oii products?

All of our products are tested multiple times during the manufacturing process, using both traditional ISO 17 025 chemical testing facilities. View test
results

Are hemp stalk oil preducts legal?

Our hemp stalk oil products are legal to consume both here in the U.S. and in many countries abroad without a prescription. Dixie Botanicals’ parent
company, Medical Marijuana, Inc., MINA, is a publicly traded company (see link http:/Avww.otcmarkets.com/stock/MJNA/quote ) that does not grow,
sell or distribute any substances in ways that violate United States Law or the Controlled Substance Act.

Will Dixie Botanicals hemp stalk oil make me feel “high”?

No, Dixie Botanicals Products are not marijuana.

Does Cannabidiol (CBD) and other natural hemp based constituents show up on a drug test?

Most workplace drug screens and tests target delta9-tetrahydrocannabinol (THC) and do not detect the presence of Cannabidiol (CBD) or other legal
natural hemp based constituents. However, studies have shown that eating hemp foods and oils can cause confirmed positive results when screening

urine and blood specimens. Accordingly, if you are subject to any form of drug testing, we recommend (as does the United States Military) that you
DO-NOT ingest our products, and consult with your healthcare, drug screening\testing company or employer.

For more information please click on the following links:

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How long will it take me to receive my order?

Dixie Botanticals strives to offer the best customer service possible and ships all products via US Mail. You should typically receive your products
within 7 — 10 business days. You will receive a tracking number via email once your package has shipped.

Are Dixie Botanicals products made in the USA?

Yes, all Dixie Botanicals products are manufactured in our state of the art production facility located in San Diego, California. We are proud to be a

and manufacturing processes.

What is the Compassionate Care Club and how does it work?

The Dixie Botanicals Compassion Care Club offers you the opportunity to receive a 15% discount on your ongoing purchases using our auto order
system. The club is a 12 month auto re-order program. Once enrolled, you will receive the same order every month and your credit card will be
charged automatically. You will receive the benefit of knowing your Dixie Botanicals Hemp Stalk Oil Products are on their way to your door. There is
a3 month minimum obligation. If the Compassionate Care Club member chooses to terminate enrollment in the program in the first 3 months a $50
administration fee will be charged. For more information, visit the Compassionate Care Club page.

FOOD AND DRUG ADMINISTRATION (FDA) DISCLAIMER—For Supplements

These statements have not been evaluated by the Food and Drug Administration (FDA). These products are not intended to diagnose, treat, cure, or
prevent any disease.

FOOD AND DRUG ADMINISTRATION (FDA) DISCLOSURE

THESE STATEMENTS HAVE NOT BEEN EVALUATED BY THE FDA AND ARE NOT INTENDED TO DIAGNOSE, TREAT, OR CURE ANY DISEASE. ALWAYS CHECK WITH YOUR
PHYSICIAN BEFORE STARTING A NEW DIETARY SUPPLEMENT PROGRAM.

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